               Case 20-10343-LSS        Doc 3161-1     Filed 05/05/21      Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


IN RE:                                                Chapter 11

BOY SCOUTS OF AMERICA AND                             Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                      (Jointly Administered)
                                 Debtors.




                        DECLARATION OF STAMATIOS STAMOULIS

          I, Stamatios Stamoulis, pursuant to the provisions of 28 U.S.C. § 1746 declare under the

penalty of perjury as follows:

         1.      I am a member of Stamoulis & Weinblatt LLC and a member of the bar of this

Court.

          2.     I have reviewed the monthly fee applications of professionals submitted to the

Court in the above captioned matter detailing the compensation sought from the estate of the

Debtors Boy Scouts of America and Delaware BSA LLC (the “Estate”). I have also reviewed

the Final Reports filed on the docket by the Fee Examiner appointed by the Court in this case.

          3.     Attached as Exhibit 1 is a table summarizing all monthly fee applications

submitted by each professional from the date of the filing of the petition until the present,

grouped by which interest each professional represents. These totals are based on the full

compensation and expense reimbursement detailed in the monthly applications, prior to any

holdback or voluntary reduction.

          4.     Attached as Exhibit 2 hereto is a detailed report broken down by professional of

all monthly fee applications filed with the Court by professionals for payment by the Estate from


                                                  1
             Case 20-10343-LSS          Doc 3161-1        Filed 05/05/21    Page 2 of 2




the date of the filing of the petition until the present. These totals are based on the full

compensation and expense reimbursement requested in the monthly applications, prior to any

holdback or voluntary reduction.

       5.      Attached as Exhibit 3 hereto is a chart summarizing each of the Fee Examiner’s

final reports on interim applications filed from the petition date to present. The chart details the

amount of compensation sought in each interim fee application (and reflected in the Fee

Examiner’s reports) and the amount by which the Examiner and the professional have agreed to

reduce the application.

       I declare under pain and penalty of perjury of the laws of the United States that the

foregoing is true and correct.



Dated: May 5, 2021                                     Respectfully Submitted,



                                                       By: /s/ Stamatios Stamoulis

                                                       STAMATIOS STAMOULIS




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